This is an accusation by a private party charging an attorney at law with breach of professional duty, and seeking his disbarment.
This court has both original and appellate jurisdiction in such cases. (Code Civ. Proc., sec. 287.) But it declines to entertain the accusation as an original proceeding except when the prosecution has been instituted by a bar association or other public body in the public interest. When the accuser is a private person, alleging misconduct prejudicial to himself, it is more convenient and more appropriate in every way that the proceedings should be instituted and the issues tried in the superior court of the county where the misconduct is *Page 601 
alleged to have occurred, and where it is to be presumed the witnesses reside.
For these reasons the proceeding here is dismissed without prejudice.